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             IN THE UNITED STATES COURT OF INTERNATIONAL TRADE

BEFORE: THE HONORABLE RICHARD K. EATON, SENIOR JUDGE
__________________________________________
                                           )
WILMAR TRADING PTE LTD., ET AL.,          )
                                           )
                  Plaintiffs,              )
                                           )
      v.                                   )
                                           )
UNITED STATES,                             ) Consol. Court No. 18-00121
                                           )
                  Defendant,               )
                                           )
      and                                  )
                                           )
NATIONAL BIODIESEL BOARD FAIR              )
TRADE COALITION,                           )
                                           )
                  Defendant-Intervenor.    )
__________________________________________)

       DEFENDANT’S RESPONSE TO PLAINTIFFS’ SUPPLEMENTAL FILING

       Defendant, the United States, respectfully submits this response to the supplemental brief,

titled as a “Notice of Supplemental Authority,” filed by Plaintiffs Wilmar Trading Pte Ltd., PT

Wilmar Bioenergi Indonesia, and Wilmar Oleo North America LLC (Wilmar.) concerning the

decision by the Court of Appeal for the Federal Circuit in NEXTEEL Co., Ltd. v. United States,

Nos. 2021-1334, 2021-1430, 2022 WL 728512 (Fed. Cir. Mar. 11, 2022) (NEXTEEL). See ECF

No. 73. Wilmar’s filing significantly overstates the relevance of NEXTEEL to this case.

       NEXTEEL involved Commerce’s determination that there was a cost-based particular

market situation (PMS), pursuant to 19 U.S.C. § 1677b(e), allegedly distorting the respondents’

cost of hot-rolled steel coil in an administrative review of Oil Country Tubular Goods (OCTG)

from the Republic of Korea. The Federal Circuit in NEXTEEL affirmed this Court’s decision

that Commerce’s PMS finding in that case was unsupported by substantial evidence. The nature
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of Commerce’s findings in that case—in which Commerce sought to show through various

interacting factors that Korean steel costs were distorted—is different than Commerce’s PMS

determinations here based on the government of Indonesia’s (GOI’s) pervasive intervention in

the domestic biodiesel market in Indonesia. Our Rule 56.2 brief described in significant detail

the substantial evidence supporting Commerce’s two PMS findings in this case. See Gov’t 56.2

Br. 23-40 (addressing Wilmar’s PMS challenges).

       Commerce made sales-based and cost-based PMS determinations in this case—neither of

which are affected by NEXTEEL. First, Wilmar’s attempt to apply NEXTEEL, which analyzed

Commerce’s factual finding of a cost-based PMS under 19 U.S.C. § 1677b(e), to undermine

Commerce’s sales-based PMS finding in this case that Wilmar’s home market biodiesel sale

prices are unreliable based on the GOI’s pervasive regulation of biodiesel sales in Indonesia is

unpersuasive. See 19 U.S.C. § 1677b(a)(1)(C)(iii) (Commerce may consider home market sales

unusable when PMS “does not permit a proper comparison with the export price or constructed

export price”). Indeed, the SAA guidance pre-dating Commerce’s 2015 addition of the cost-

based PMS provision to the statute specifically identifies the circumstances Congress had in

mind with respect to a PMS finding as those “where there is government control over pricing to

such an extent that home market prices cannot be considered competitively set.” Statement of

Administrative Action accompanying the Uruguay Round Agreements Act, H.R. Doc. 103-316,

at 822 (1994), reprinted in 1994 U.S.C.C.A.N. 4040, 4162 (SAA); see also NEXTEEL, 2022 WL

728512 at *4 (quoting SAA). That is precisely what Commerce found in this case.

       Specifically, as we detailed in our Rule 56.2 brief, Commerce found that the GOI

mandated producer-specific quantities and the prices for domestic biodiesel sales under its Public

Service Obligation (PSO) program. This had a direct effect on biodiesel prices and production in




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Indonesia during the investigation period and meant that the GOI controlled the Indonesian

biodiesel market to such an extent that no home market prices can be considered to have been

competitively set. See Gov’t 56.2 Br. 23-26; IDM at 11-16 (P.R. 303). Commerce further found

that this government intervention, which mandated pricing based on petrodiesel rather than

biodiesel, meant that the PSO’s programs pricing was set by the GOI in a manner not subject to

negotiation, regardless of supply and demand, and rendered sales prices in Indonesia unreliable.

See id. Hence, this is not a case in which Commerce’s factual findings were lacking. Relatedly,

Wilmar attempts to re-hash factual arguments from its Rule 56.2 brief claiming (inaccurately)

that Commerce “verified” the market-based nature of Wilmar’s sales prices. See Wilmar Supp.

4. We fully addressed the arguments in the Rule 56.2 briefing and argument, and NEXTEEL is

no basis to reprise them. See Gov’t 56.2 Br. 27-28.

       Second, contrary to Wilmar’s claims, NEXTEEL does not provide support for Wilmar’s

substantial evidence arguments challenging Commerce’s second PMS finding of a cost-based

PMS distorting Wilmar’s Crude Palm Oil (CPO) input costs. See Wilmar Supp. 4-5. Again,

Wilmar seeks to use NEXTEEL as grounds to re-hash unpersuasive factual arguments, which we

addressed in the Rule 56.2 briefing and argument, challenging the sufficiency of the evidence

Commerce discussed in finding that Indonesian CPO prices were distorted. See Gov’t 56.2 Br.

34-40. Moreover, unlike Commerce’s approach in NEXTEEL (combined with what the Federal

Circuit found to be weak evidence of Korea’s actual subsidization of the relevant steel input),

Commerce in this case rooted its determination in clear evidence of the GOI’s intervention in the

Indonesian CPO market through export restraints that, in the GOI’s own words to the World

Trade Organization (WTO), “can be used to reduce the domestic price . . . in order to guarantee

supply of intermediate inputs at below world market prices for domestic processing industries.”




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Gov’t 56.2 Br. 34 (emphasis added; citation omitted). Further, going beyond the type of analysis

that the Federal Circuit found insufficient in NEXTEEL, Commerce analyzed data on the record

correspondingly showing that Indonesian CPO prices were artificially lower than world market

prices during the period of investigation, such that it was “empirically apparent that Indonesian

CPO prices are distorted.” Id. (quoting IDM at 22 (P.R. 303)). Like the evidence supporting

Commerce’s sales-based PMS finding, this evidence also fits closely with the SAA’s guidance

that a particular market situation may exist when a government’s intervention is such that “prices

cannot be considered to be competitively set.” SAA at 822.1

       Additionally, the circumstances apparent from the record here are precisely the opposite

of the “global phenomenon” issue that Wilmar highlights from NEXTEEL because in that case

Commerce was concerned about a Chinese market overcapacity phenomenon that affected global

markets well beyond Korea, whereas in this case Commerce based its PMS determination on an

Indonesia-specific phenomenon that is evidenced by the divergence of prices in Indonesia from

the rest of the world. See Wilmar Supp. 5. If there is any analogue to this case, it is this Court’s

decision sustaining Commerce’s similar PMS finding in its investigation of biodiesel from

Argentina, in which the Court upheld Commerce’s finding that Argentina’s export tax on

soybeans created a PMS that distorted the respondents’ production costs. See Vicentin S.A.I.C. v.

United States, 404 F. Supp. 3d 1323, 1340-41 & n.27 (Ct. Int’l Trade 2019) (appeal pending on

other grounds); see also NEXTEEL, 2022 WL 728512, at *4 (“Nothing in the statute requires

Commerce to quantify the distortion precisely.”).

       Finally, given Commerce’s empirical comparison of Indonesian versus world market

prices, and NEXTEEL’s statement that “a quantitative comparison showing a difference between
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 Also unlike NEXTEEL, and consistent with its Indonesia-specific finding of distorted CPO
prices, Commerce accounted for the PMS in this case by using non-distorted market-based CPO
prices in calculating Wilmar’s constructed normal value. See Gov’t 56.2 Br. 35.


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costs incurred and costs in the ordinary course of trade could be substantial evidence supporting

the existence of a particular market situation,” NEXTEEL, if anything, supports sustaining

Commerce’s decision in this case. NEXTEEL, 2022 WL 728512, at *4.

       For these reasons, Wilmar’s supplemental arguments based on NEXTEEL lack merit and

we respectfully request that the Court sustain Commerce’s determination.

                                                        Respectfully submitted,

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April 7, 2022                                           Attorneys for Defendant United States




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